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IN THE 'UNITED STATES DISTRICT C()URT
FOR THE DISTRICT OF COLUMBIA

 

 

)
SHABTAI SCOTT SHATSKY, et al., )
)
Plaintiffs, )
v. ) Civil Action No. 1:02cv02280 (RJL)
)
THE SYRIAN ARAB REPUBLIC, et al., )
)
Defendants. )
)
ERRATA

(For Defendants’ Report on Compliance Required of Plaintiffs (Dkt. No. 224))
PLEASE TAKE NOTICE that attached hereto is a copy of Exhibit A to Defendants’
Report on Compliance Required of Plaintiffs (Dkt. No. 224) (“Defendants’ Report), Which
should have been, but Was not, flled contemporaneously With Defendants’ Report. Defendants
request that the docket reflect that the attached Exhibit A is deemed filed With Defendants’
Report, nunc pro tunc.

Dated: January 31, 2013 Respectfully submitted,

/s/ Richard A. Hibev

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that, on January 31, 2013, a true and genuine copy of the
foregoing Was served via ECF on the following

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